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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

DEVONA COTHAM,

 

Plaintiff`,
v. No. 0`1-2837

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER ADOPTING IN PART AND REVERSING IN PART
MAGISTRATE JUDGE’S REPORT & RECOMMENDATION

 

The Plaintiff, Devona F. Cotham, appealed from a decision of the Comrnissioner of Social
Security denying her application for disability insurance benefits. After the Court affirmed a
magistrate judge’s report recommending reversal of the Administrative Law ludge’s decision,
Cotham filed a motion seeking an award of attorney fees pursuant to the Equal Access to Justice Act
(“EAJA”), 28 U.S.C. § 2412(d). On November 12, 2003, the Court referred the motion to Magistrate
Judge J ames H. Allen, Who subsequently transferred the case to Magistrate Judge S. Thomas
Anderson.l Judge Anderson entered an order granting in part the Plaintiff" s request for attorney fees

on July 28, 20042 Currently pending before the Court is Plaintiff"s motion for rehearing on the

 

‘ In Judge Allen’s order of transfer, he noted that the parties had consented to a trial by
the magistratejudge. However, upon review ofthe Court’s docket, no such consent was found in
the file and thus, the Court assumes the parties never agreed for this matter to be tried by a
magistrate judge.

2 As the Plaintiff correctly points out, because the parties had not consented to a trial by a
magistrate judge, the order should have been entered as a recommendationl Because of this fact,

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issue of attorney fees. As the issues have been fully briefed, disposition of the motion is now
appropriate
BACKGROUND

The parties do not dispute that Plaintiffis the prevailing party in this case and that attorney
fees should be awarded under the EAJA but disagree over the amounts requested lnitially, Plainti ff
sought fees totaling $4,892.15 based on 29.9 hours at 5143.55 per hour for work perfomied by two
attorneys, and 10.0 hours at $60.()0 per hour for work performed by a paralegal. (Pl.s Pet. Att‘y Fees
at l.) Cotham seeks an additional $l,l48.40 (8 hours at $143.55 per hour) for fees incurred in
preparing a reply to Defendant’s response to Plaintiff’s petition for attorney fees and 3574.20 (4
hours at 3143.55 per hour) in attorney fees for preparing a reply to Defendant’s sur-reply to
Plaintiff’s petition. (Pl.’s Reply Def.’s Resp. Pl.’s Application Att’y Fees at 15; Pl.’s Reply Def.’s
Sur-Reply Pl.’s Application Att’y Fees at 4.) The Defendant contends that Plaintiff’ s requests are
unreasonable

ln ruling on Plaintiff’ s petition for attorney fees, the magistrate j udge found that the she failed
to carry her burden of demonstrating the reasonableness of the requested rate and awarded her the
statutory rate ofSlZS. Judge Anderson noted that 28 U.S.C. § 2412(d)(2)(A) requires that the fee

award “be based upon prevailing market rates for the kind and quality of the services furnished

 

Cotham seeks to have the magistrate judge reenter the order as a report and recommendation
However, this step is unnecessary as the Court Will simply consider ludge Anderson’s order as a
report and recommendation and review it under a de novo standard pursuant to Rule 72(b) of the
Federal Rules of Civil Procedure. The Federal Rules of Civil Procedure establish the standard of
review of a report and recommendation by a district judge, who “shall make a de novo
determination upon the record, or after additional evidence, of any portion of the magistrate
judge’s disposition to which specific written objection has been made , . . . The district judge
may accept, rcject, or modify the recommended decision . . . FED. R. Clv. P. 72(b).

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except that . . . attorney fees shall not be awarded in excess of 5125 per hour unless the court
determines that an increase in the cost ofliving or a special factor, such as the limited availability
of qualified attorneys for the proceedings involved, justifies a higher fee.” 28 U.S.C. §
2412(d)(2)(A). Cotham submitted affidavits for each of her attomeys whose hourly rates varied from
$l50 to $175 and evidence of an increase in the Consumer Price lndex ("CPI”) from March 199(),
when the EAJA was reenacted, to March 2002. Nonetheless, the magistrate judge concluded that
Plaintiff had not met her burden of demonstrating that the prevailing market rate was higher than
3125 and found that the Consumer Price Index and affidavits of the litigating attorneys were "simply
not enough to satisfy the Court of the prevailing market rate.” (Order Granting in Part Pl_’s l\/lot.
Att’y Fees at 4.) Likewise, Judge Anderson determined that Plainti ff had not presented any evidence
to demonstrate the prevailing rate for paralegals working in l\/lemphis was 560 per hour. Havin g
cited two cases from other districts in the region in which the prevailing paralegal rate ranged from
345 to 555 per hour, the magistrate judge found that a reasonable rate in l\/Iemphis would be 350 per
hour.

Magistrate Judge Anderson also decreased the number of hours that Plainti ff requested from
37'.9 to 34.l based on the fact that some ofthe hours claimed were vague, duplicative, or clerical in
nature Furthermore, the magistrate judge determined that 9 of the 34.] total hours were attributable
to work performed by a paralegal. (Order Granting Part Pl.’s l\/lot. Att’y Fees at 6.) Since the
Plaintiff did not specifically object to these portions of the recommendation, the Court adopts the
magistratejudge’s finding and decrease of Plaintiff’s requested hours. _S_ee Fed. R_ Civ. P. 72(_b);
Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995) (holding that “a general objection to a magistrate

report, which fails to specify the issues of contention, does not satisfy the requirement that an

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objection be filed”); Lyons v. Comm’r ofSoc. Sec., 351 F. Supp. 2d 659, 661 (E.D. Mich. 2004)
(stating that if a party does not object, the court does not need to conduct a review by any standard,
but if a party objects to portions of a recomlnendation7 the court reviews those portions de novo).

Finally, the magistrate judge found that Cotham’s request for 12.03 hours in attorney fees
from litigating the EAJA dispute to be excessive ludge Anderson relied on Coulter v. State of
Tennessee, 805 F.2d 146, 151 (6th Cir. 1986), in which the Sixth Circuit stated that “[i]n the absence
of unusual circumstances, the hours allowed for preparing and litigating the attorney fee case should
not exceed 3% of the hours in the main case when the issue is submitted on the papers without a
trial.” Accordingiy, the magistratejudge awarded Plaintiff$l?.$ for l hour ofEAJA litigation fees.
represented by taking 3% of 34.1 hours.

ANALYSIS

Plaintiff contends that the magistrate judge’s conclusion that she failed to prove the
prevailing market rate for attorney fees is incorrect and is in conflict with other decisions of this
district. Cotham points to District ludge Jon McCalla’s opinion in Huggins v. Bamhart, No. 02-
2611 Ml/V (W.D. Tenn. July 9, 2004), in which he stated that “[t]he Consumer Price lndex is
adequate proofofan increase in the cost ofliving andjustifies an award greater than 5125 per hour."
§e§ Johnson v. Sullivan, 919 F.Zd 503, 504 (6th Cir. 1990) (“We believe that the Consumer Price
lndex constitutes ‘proper proof’ of the increased cost of living since the EAJA’s enactment and

justifies an award of attorney’s fees greater than [$125] per hour.”); §_e_e@ Harris v. Sullivan, 968

 

3 The magistratejudge mistakenly found Plaintiffs request to be 14.0 hours (L: Order
Granting Part Pl.’s Mot. Att’y Fees at 6.) Inasmuch as the record reveals that Cotham only seeks
12.0 hours for attorney fees related to the EAJA litigation, the Court will consider that figure as
the amount requested (&z_e Pl.’s Reply Def.’s Resp. Pl.’s Application Att’y Fees at 14-15; Pl.’s
Reply Def.’s Sur-Reply Pl.’s Application Att’y Fees at 3-4.)

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F.2d 263, 265 (2d Cir. 1992) (“‘cost of living’ . . . is properly measured by the Consumer Price
lndex”); Allen v. Bowen, 821 F.2d 963, 967 (3d Cir. 1987).

As noted above, ludge Anderson denied Plaintiff’s request for an increased hourly rate and
noted that “the EAJA ‘is a ceiling and not floor”’ for purposes of assessing the rate to be utilized
(Order Granting Part Pl.’s Mot. Att’y Fees at 3 (quoting Chioman v. Sec’y of Health and Human
Serv., 781 F.2d 545, 547 (6th Cir. 1986)).) The magistrate judge further observed that "District
Courts are ‘to carefully consider, rather than rubber stamp, requests for adjusted fees based on
inflation.”’ (Order Granting Part Pl.’s Mot. Att’y Fees at 3 (quoting Begley v. Sec’y of`Health and
Human Serv., 966 F.2d 196, 200 (6th Cir. 1992).) However, the Court does not read Chipman and
Begley as narrowly as Judge Anderson suggests ln Begley, the Sixth Circuit stated

[o]ur review of the record suggests that the district court may have read our decision

in Chipman to foreclose any upward adjustments from the statutory ceiling. This is

not correct. We interpret Chip_man as a specific instruction not to use 375 [now

3125] as a minimum hourly fee and a more general command to district courts to

carefully consider, rather than rubber stamp, requests for adjusted fee awards based

on inflation We have neither precluded cost of living adjustments in appropriate

cases, nor interfered with the authority of the district courts to decide such matters

within their discretion
Begley, 966 F.Zd at 200 (emphasis in original).

Here, the Plaintiff has offered the affidavits of two attorneys and has cited to the Consumer
Price lndex as evidence of an increase in the cost of living. ln her petition, Plainti ff submitted that
the CPl was 155.7 in March 1996, when the EAJA was reenacted, and later rose to 178.8 in March
2002. (Mem. Law Supp. Pl.’s Pet. Att’y Fees at 4, attached to Pl.’s Pet. Att’y Fees (hereinafter

(“Mem. Law at __.”).) Therefore, Cotham seeks an increase from 3125 to $143.55 per hour based

on the 14.836% increase in the CPl since 1996. “‘The primary concern in an attorney fee case is that

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the fee awarded be reasonable,’ that is, one that is adequately compensatory to attract competent
counsel yet which avoids producing a windfall for lawyers.” Adcock-Ladd v. Sec’v of Treasurv, 227
F.3d 343, 349 (6th Cir. 2000) (quoting Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir. 1999) (citing
Blum v. Stenson, 465 U.S. 886, 893, 897, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984))). Based on the
rise in the CPI, as well as the submissions from Plaintiffs lawyers, the Court finds that Plaintiff is
entitled to an increase in the hourly rate to 8143.55. M @ggin_s, No. 02-2611 Ml V, at 3 (W.D.
Tenn. July 9, 2004) (increasing the statutory rate based on the Consumer Price lndex to 33143.55 per
hour). As Judge Anderson had found that the total pre-EAJA litigation attomey fee hours amounted
to 25.1, Cotham is awarded $3,603.11 (25.1 hours times $l43.55) in attorney fees for that work.

However, with respect to Plaintiff’ s claim for paralegal fees, the Court concludes that the
magistrate judge’s finding that Cotham failed to satisfy her burden of proving that 860 was a
reasonable paralegal fee is supported by the record Although she cites to Huggins in support for her
position, Judge McCalla specifically noted that the defendant in that case never contested the
reasonableness of the paralegal’s hourly fee. As the Defendant here challenges the reasonableness
of the paralegal rate, mggin_$ is unpersuasive on this point. The Plaintiff concedes in her motion
for rehearing “that this matter was not even briefed by the parties.” Thus, the Court finds that
Plaintiff has failed to establish that the prevailing paralegal rate was more than that awarded
Consequently, as Judge Anderson determined Plaintiff is entitled to 8450 (9 hours at 850 per hour)
in paralegal charges.

Finally, Plaintiff claimed a total of 12.0 hours in attorney fees resulting from the present

`EAJA litigation. Based on Coulter, the magistratejudge awarded her only one hour of fees D

 

Coulter, 805 F.2d at 151. ln her motion, Plaintiff submits that Coulter was decided prior to

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Commissioner, Immigration and Naturalization Service v. Jean, 496 U.S. 154, 1 10 S.Ct. 2316, l l 0

L.Ed.2d 134 (1990), which apparently abrogated Coulter by requiring a court to award "reasonable"
fees under the EAJA. (Pl.’s Mot. Rehearing at 4.) However, none of the language to which Cotham

cites indicates that Coulter was actually overruled or that only a percentage award based on the total

 

pre-EAJA litigation hours would be unreasonable lndeed, it appears to be excessive to expend 12
hours litigating a fee award when the merits only required a total of 34.1 hours. Thus, the Court
finds the magistrate judge’s reduction appropriate However, because it would be difhcult to
successfully file and defend a petition for attorney fees under the EAJA in a single hour, the Court
finds that an award of 3.0 hours in attorney fees is reasonable Accordingly, Plaintiff is awarded
5430.65 ($143.55 times 3.0 hours) in fees for the EAJA dispute
CONCLUSION

Based on a de novo review, the Court ADOPTS in part and REVERSES in part the

magistrate judge’s findings as set forth herein.

IT ls so oRDERED thisl_ 16 day OrMay, 2005

afs/aa

IA EL BREEN
STATES DISTRICT\JJ DGE

 

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